                     IN THE UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF MISSOURI
                                CENTRAL DIVISION

UNITED STATES OF AMERICA,                        )
                                                 )
                             Plaintiff,          )
                                                 )
                     v.                          )            No. 13-4048-02/03-CR-C-BCW
                                                 )
KEVIN RAY MCLOUTH                                )
KALLIE JO MCLOUTH                                )
                                                 )
                             Defendant.          )


                            REPORT AND RECOMMENDATION
                             CONCERNING PLEA OF GUILTY

       The defendants, by consent, appeared before the undersigned on April 16, 2016 and
pursuant to Rule 11 of the Federal Rules of Criminal Procedure, Local Rule 72(c)(1)(j), and 28
U.S.C. § 636. Defendant Kevin McLouth entered a plea of guilty to Count One of the Indictment
filed on October 2, 2013, and defendant Kallie Jo McLouth entered a plea of guilty to Count Five
of the Indictment filed on October 2, 2013. After cautioning and examining Defendants, under
oath, in accordance with the requirements of Rule 11, it was determined that the guilty pleas
were knowledgeable and voluntary, and that the offenses to which Defendants have plead guilty
is supported by a factual basis for each of the essential elements of the offense.
       IT IS, THEREFORE, RECOMMENDED that the pleas of guilty be accepted and that the
defendants be adjudged guilty and have sentence imposed accordingly.
       Failure to file written objections to this Report and Recommendation within fourteen (14)
days from the date of its filing will bar an aggrieved party from attacking such Report and
Recommendation before the assigned United States District Judge. 28 U.S.C. § 636(b)(1)(B).



                                               Matt J. Whitworth
                                              MATT J. WHITWORTH
                                              United States Magistrate Judge

April 16, 2015




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Jefferson City, Missouri




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